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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
28th day of December, two thousand twenty-three.

Before:     José A. Cabranes,
            Denny Chin,
            Maria Araújo Kahn,
                   Circuit Judges.
________________________________

 E. Jean Carroll,
                                                  ORDER
              Plaintiff-Counter-Defendant-
 Appellee,                                        Docket Nos. 23-1045(L), 23-1146(Con)

 v.

 Donald J. Trump, in his personal capacity,

              Defendant-Counter-Claimant-
 Appellant.
 ________________________________

       Appellant moves to stay the issuance of the mandate and to stay district court proceedings
during the pendency of remaining appellate proceedings. Appellee moves the Court to issue the
mandate on January 5, 2024 and/or enter an order confirming that the district court otherwise
maintains jurisdiction to proceed with the case.

       IT IS HEREBY ORDERED that the motions are DENIED.


                                                    For the Court:

                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
